
*February 1st, 1816.
JUDGE ROANE
pronounced the court’s opinion.
The court is of opinion that the decree of the chancellor, dismissing the bill of the appellant, is erroneous, and should be reversed with costs ; and this court proceeding, &amp;c. it is farther decreed and ordered, that the appellee, John Gibson, pay to the appellant, out of the trust subject in his hands, in the proceedings mentioned, the principal sum and interest claimed by the bill, with the costs in the Court of Chancery ; and that the said trustee shall, if necessary, sell as much thereof, on reasonable notice, as may be sufficient to satisfy the same. The court is also of opinion, and hereby decrees, that, in default of the other part of the said trust fund, the appellant. may, by causing the appellees to interplead, or otherwise, proceed against the appellee Ficklin, to recover so much of his debt as may be unpaid from the trust fund aforesaid; and, in default of both these funds, either in the whole or in part, that he shall have like liberty to proceed against the representatives of Benjamin Botts. And the cause is remanded to the Court of Chancery to be proceeded in pursuant to the principles of this decree.
